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  December 1, 2023

  VIA USDC EDNY CM/ECF

  The Honorable Brian M. Cogan
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

  Re:    Ruben Wills v. Microgenics Corporation and Thermo Fisher Scientific Inc.
         Civil Action No. 1:20-cv-04432-BMC

  Dear Judge Cogan:

          We represent Defendants Microgenics Corporation and Thermo Fisher Scientific
  Inc. in the above-captioned case. We write jointly with all parties to provide the Court with
  the following proposed expert discovery schedule, pursuant to the Court’s November 17,
  2023 Text Order:

            1. Affirmative expert reports - February 7, 2024

            2. Responsive expert reports - March 27, 2024

            3. Expert discovery deadline - May 15, 2024.

         Thank you for your attention to this matter.
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                                                Respectfully submitted,

                                                BOWMAN AND BROOKE LLP

                                                /s/ Erica S. Mekles
                                                Erica S. Mekles
                                                Co-Managing Partner
  ESM/la

  cc: All counsel of record (VIA ECF)
